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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                         CASE NO: 6:06-cr-22-ACC-LHP

JASON E. MADOW


                                              ORDER

       This cause comes before the Court on Defendant Jason E. Madow’s pro se Motion for Stay

of Writ of Garnishment (Doc. 131) and the Government’s Motion to Terminate Writ of

Garnishment (Doc. 134).

       On January 2, 2022, the Court overruled Madow’s Objections to Magistrate Judge

Hoffman Price’s Order granting the Wage Garnishment Application to Madow’s employer. (Doc.

125). Madow, proceeding pro se, immediately appealed the Order, although it is a non-final and

non-appealable order, as the Eleventh Circuit previously noted in dismissing his premature last

appeal. (See Doc. 122; see also Doc. 116 at 2 (explaining that an order denying relief from a writ

of garnishment is not appealable and non-final; “[T]ypically, there is no appellate jurisdiction until

the district court enters an order directing the disposition of the property.” (quoting Stansell v.

Revolutionary Armed Forces of Colombia, 771 F.3d 713, 743, n. 25 (11th Cir. 2014)).

       Until the Eleventh Circuit resolves Madow’s appeal, jurisdiction over the matter lies with

the appellate court. Therefore, this Court does not currently have jurisdiction to resolve the

Government’s Motion to Terminate the Writ of Garnishment, which would moot Madow’s request

for a stay of the writ of garnishment.

       Based on the foregoing, it is ordered as follows:
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       1.      The Government is ordered to notify the Eleventh Circuit within 14 days that the

issue at the center of the dispute over the writ of garnishment is moot and that it seeks to

terminate the writ.

       DONE and ORDERED in Chambers, Orlando, Florida on February 24, 2022.




Copies furnished to:

Counsel of Record
